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                                                            IN THE SUPER:OR COURT FOR ttHE            STAT=OF ALASKA
                                                                 THIRD JUDiCiAL DISTRICT AT           ANCHORAGE
                                         BRAD DAVIDS,
                                                                                                                      COPV
                                                                                                              Orlgina:Received
                                                            Plaintiff,                                               JAN 2キ 2014
                                        VS,
                                                                                                            C:● rに   ,ザ   t:賠   マr,31 cttuFib
                                        wlLLIAM BETTS,

                                                            Defendant.
                                                                                        )
                                                                                                case No 3AN-14‐ 4亀 年β Gv‖
                                                                                   ―
                                                                               ORIGINAL COMPLAINT

                                                     coMES NOW ptaintiff, BRADLEY DAVIDS, by and through his attortrey of

                                             record, LAW OFFTCE OF WtLLIAM DENNIE COOK, PC, stating and alleging on behalf

                                         of his con'rplaint for damages and injuries the following:

                                                     1.     At all r-elevant times Plaintitf was a resident of the state of Alaska and of

                                         the Fourth Judicial District.

                                                     Z.      On information and belief, Defendant was at all relevant times a resident

                                                         laska and ofthe Third」 udicial[)istrict.
                                         ofthe state ofメ ヽ

                                                     3.    On or abOut February 3,2012,PlainJ「 :haVing been admtted tO Alaska

                                             Natlve Medical Center,LIndenⅣ ent surgeryi performed by Defendanti a physician.

                                             Defendant had rnet with PlalntifF,diagnosed hiS COnditioni and planned for surgery.

                                                     4.     Defendantls care of Piaintiff Davids fe‖ below the rlnediCal standard of

                                             good health care required for health care providers in the community, and had
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         “                                   deleterious causal impact upon the future health of his patienl' Plaintiff'
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                                             COMPLAlNT
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                                             No.3AN‐ 141           Civil
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                                                Case 3:14-cv-00150-JWS Document 1-1 Filed 07/31/14 Page    'I-OZ―
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                 ZO'd
                                         5.      As a direct result of, and proxiniately caused by, Defendant's acts and
                                                                                                                                     ￨




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                                  omissions, Plaintiff has suffered econonric and non-economic losses to be proven at

                                  trial. WHEREFORE, Plaintiff prays for judgnrent against Defendant as foilows:                      ￨

                                                                                                                                     ￨




                                         1.      For judgment within the jurisdictional limit of the Superior Courl;

                                         2.      For pre-judgment interest on any and all rnonetary judgments received,

                                         3.      For costs and attorneys fees necessarily incurred as a result of the filing of

                                  this action, and as provided by law; and

                                         4,      For such other relief as the trier of fact deems appropriate.
                              1
                                         DATED at Anchorage, Alaska on this 24lh day of January,2014.

                                                                      LAVV OFFiCE OF VVILLIAM DENNIE COOK,PC
                                                                                    Attorney for Plaintiff



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                                                                                        ABA No.7510062




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